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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 MICHAEL GUZMAN,
                                                                             AMENDED COMPLAINT &
                                                              Plaintiff,     JURY DEMAND
                               -against-                                     15-CV-2662 (KAM) (VMS)
 CITY OF NEW YORK, POLICE OFFICER LESZEK
 DADURA #4784,

                                                          Defendants.

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          Plaintiff Michael Guzman by his attorneys, Stoll, Glickman & Bellina, LLP, for his

 Complaint alleges as follows:


                                      PRELIMINARY STATEMENT

     1.     This is a civil rights action in which Plaintiff seeks relief through 42 U.S.C. § 1983 for

 the violation of his First, Fourth, Fifth, Sixth, and Fourteenth Amendment rights in addition to

 violations of the laws and Constitution of the State of New York.

     2.     The claim arises from a September 21, 2013 incident in which a New York City Police

 Department (“NYPD”) Officer of the Transit Bureau, Transit District 30 Command, acting under

 color of state law, intentionally and willfully subjected Mr. Guzman to false arrest and violated

 his right to freedom of speech.

     3.     Plaintiff seeks monetary damages (special, compensatory, and punitive) against

 defendants, as well as an award of costs and attorneys’ fees, and such other and further relief as

 the Court deems just and proper.
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                                          JURISDICTION

    4.       This action arises under the First, Fourth, Fifth, Sixth, and Fourteenth Amendments to

 the United States Constitution and under 42 U.S.C. §§ 1983 and 1988.

    5.       The jurisdiction of this court is predicated upon 28 U.S.C. §§ 1331, 1343(a)(3)-(4),

 1367(a), and the doctrine of pendent jurisdiction.

                                               VENUE

    6.       Venue is laid within the Eastern District of New York in that Defendant City of New

 York is located within and a substantial part of the events giving rise to the claim occurred

 within the boundaries of the Eastern District.

                                              PARTIES

    7.       Plaintiff MICHAEL GUZMAN is a resident of Bronx County in New York State.

    8.       The CITY OF NEW YORK (“CITY”) is a municipal corporation organized under the

 laws of the State of New York. At all times relevant hereto, Defendant City, acting through the

 NYPD, was responsible for the policy, practice, supervision, implementation, and conduct of all

 NYPD matters and was responsible for the appointment, training, supervision, discipline and

 retention, and conduct of all NYPD personnel. In addition, at all times here relevant, Defendant

 City was responsible for enforcing the rules of the NYPD, and for ensuring that the NYPD

 personnel obey the laws of the United States and the State of New York.

    9.       Defendant LESZEK DADURA was at all times here relevant a police officer of the

 NYPD, and as such was acting in the capacity of agent, servant, and employee of the City of

 New York. On information and belief, at all times relevant hereto, Officer Dadura was involved

 in the decision to arrest Plaintiff without probable cause. Officer Dadura is sued in his individual

 capacity.




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     10.   At all times here mentioned defendant was acting under color of state law, to wit, under

 color of the statutes, ordinances, regulations, policies, customs and usages of the City and State

 of New York.

                                    FACTUAL ALLEGATIONS

     11.   On September 21, 2013, at approximately 5:50 P.M., Mr. Guzman was standing on the

 number 2 train platform inside the Borough Hall station in Kings County.

     12.   Mr. Guzman observed that Defendant Officer Dadura had detained several civilians,

 all of whom were unknown to Mr. Guzman. The individuals were sitting on a subway bench on

 the platform with their hands behind their backs. The detainees appeared frightened.

     13.   From a distance of more than ten feet away, Mr. Guzman spoke to the civilians, asking

 them if they were all right, and if there they wanted him to contact anyone on their behalf.

     14.   Officer Dadura told Mr. Guzman that what he was doing was illegal. At this point, Mr.

 Guzman began to use the video recording function on his phone to record the encounter with the

 police officer.

     15.   The police officer walked away from the detained civilians, approached Mr. Guzman,

 and asked Mr. Guzman to “put the phone away.”

     16.   Mr. Guzman, who is a community organizer and has received extensive training in

 lawful and peaceful police-civilian encounters, correctly replied that his actions were not illegal

 and that he has a constitutional right to record.

     17.   Officer Dadura told Mr. Guzman that the light attached to his cell phone was “blinding”

 him, so Mr. Guzman offered to step back even further.

     18.   Before Mr. Guzman could take a step back, Officer Dadura arrested him.

     19.   The officer grabbed Mr. Guzman’s left arm and twisted it hard behind Mr. Guzman’s




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 back. Mr. Guzman continued to record and narrate the encounter while holding the phone in his

 right hand.

    20.   The officer grabbed Mr. Guzman’s right arm, twisted it behind his back, and took Mr.

 Guzman’s phone out of his hand. After both of Mr. Guzman’s hands were behind his back, the

 officer pushed him up against a wall and placed him in handcuffs. He then led Mr. Guzman to a

 bench on the platform and allowed the three civilian detainees to leave the station.

    21.   Mr. Guzman was escorted to a patrol car and taken to the 84th Precinct. At the

 precinct, Mr. Guzman did not consent to a search of his person or his belongings, and asked for

 an attorney.

    22.   Mr. Guzman was placed in a holding cell. His belongings were taken and vouchered.

 His cell phone was taken apart and placed in a separate bag.

    23.   While waiting in the holding cell, Mr. Guzman requested medical attention because his

 shoulder felt hot and sore. Police officers ignored his request.

    24.   Approximately three hours later, Emergency Medical Technicians (“EMTs”) arrived.

 They told Mr. Guzman that they had just received a call requesting medical attention.

    25.   After examining Mr. Guzman, the EMTs placed Mr. Guzman’s arm in a sling and took

 him to the hospital in an ambulance.

    26.   At the hospital, a nurse examined him, gave him medication for his pain and

 inflammation, and released him back to the custody of the NYPD.

    27.   Defendant officer misrepresented to the Kings County District Attorney’s Office that

 Plaintiff was within ten feet of the officer and that Plaintiff refused to step away from the officer.

 In fact, Mr. Guzman was filming the officer from more than ten feet away and volunteered to

 step back even further – but before he could back up, Officer Dadura arrested him.




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     28.   Mr. Guzman was arraigned the following day, September 22, 2013, in Brooklyn

 Criminal Court. The judge released him on his own recognizance. He was in police custody for

 more than 24 hours.

     29.   On March 10, 2014, Mr. Guzman’s case was dismissed and sealed by the Honorable

 Michael Gerstein.

     30.   During all of the events above described, the defendant officer acted maliciously and

 with intent to injure Plaintiff.

                                               DAMAGES

     31.   As a direct and proximate result of the acts of defendants, Plaintiff suffered the

 following injuries and damages:

                     a. Violation of his rights pursuant to the First Amendment of the United
                        States Constitution to freedom of speech;

                     b. Violation of his rights pursuant to the Fourth Amendment of the United
                        States Constitution to be free from an unreasonable search and seizure of
                        their persons;

                     c. Violation of his rights pursuant to the Fourth, Fifth, and Sixth
                        Amendments of the United States Constitution to a fair trial;

                     d. Violation of his rights pursuant to the Fourteenth Amendment of the
                        United States Constitution to due process;

                     e. Emotional trauma and suffering, including fear, embarrassment,
                        humiliation, emotional distress, frustration, extreme inconvenience,
                        anxiety;

                     f. Loss of liberty; and

                     g. Physical pain and suffering.




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                                  FIRST CAUSE OF ACTION
                                       42 U.S.C. § 1983
                              FALSE ARREST & EXCESSIVE FORCE

    32.   The above paragraphs are here incorporated by reference.

    33.   The officer Defendant wrongfully and illegally arrested, detained, imprisoned, and

 falsely charged Plaintiff.

    34.   The wrongful, unjustifiable, and unlawful apprehension, arrest, detention, and

 imprisonment of Plaintiff was carried out without a valid warrant, without Plaintiff’s consent,

 and without probable cause or reasonable suspicion.

    35.   During the course of the arrest, Officer Dadura used excessive force against Plaintiff,

 causing Plaintiff to seek medical treatment.

    36.   At all relevant times, Defendant acted forcibly in apprehending, arresting, and

 imprisoning Plaintiff.

    37.   All of this occurred without any illegal conduct by Plaintiff.

    38.   The officer Defendant acted under color of law and in his individual and official

 capacities and within the scope of his employment as an NYPD officer. Said acts by the officer

 were beyond the scope of his jurisdiction, without authority of law, and in abuse of his powers.

 Said defendant acted willfully, knowingly and with the specific intent to deprive Plaintiff of his

 constitutional and statutory rights to be free from unreasonable search and seizure and to due

 process of law pursuant to the Fourth and Fourteenth Amendments secured by the United States

 Constitution, and are liable to Plaintiff under 42 U.S.C. § 1983.

    39.   As a direct and proximate result of the misconduct and the abuse of authority detailed

 above, Plaintiff sustained the damages described above.




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                                 SECOND CAUSE OF ACTION
                                      42 U.S.C. §1983
                               FREEDOM OF SPEECH VIOLATION

    40.    The above paragraphs are here incorporated by reference.

    41.    Officer Dadura arrested Plaintiff in direct retaliation for the content and viewpoint of

 Plaintiff’s speech, without probable cause to arrest him for any offense, and in violation of his

 right to freedom of speech.

    42.    Defendants’ conduct deprived Plaintiff of his rights under the First and Fourteenth

 Amendment to the United States Constitution. Defendants are liable to Plaintiff under 42 U.S.C.

 § 1983.

    43.     Plaintiff has been damaged as a result of Defendant’s wrongful acts.

                                  THIRD CAUSE OF ACTION
                                       42 U.S.C. § 1983
                                   DENIAL OF FAIR TRIAL

    44.     The above paragraphs are here incorporated by reference.

    45.     The individual defendant fabricated false evidence against Plaintiff and forwarded

 such false evidence to the Kings County District Attorney’s Office.

    46.     Defendant was aware or should have been aware of the falsity of the information used

 to prosecute Plaintiff.

    47.     As a result of Defendant’s false statements, Plaintiff fought false charges for

 approximately four months.

    48.     Defendants’ conduct deprived Plaintiff of his right to a fair trial, pursuant to the

 Fourth, Fifth, Sixth, and Fourteenth Amendments to the United States Constitution. Defendants

 are liable to Plaintiff under 42 U.S.C. § 1983.

    49.     Plaintiff has been damaged as a result of Defendants’ wrongful acts.




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                                    FOURTH CAUSE OF ACTION
                                         42 U.S.C. § 1983
                                      MUNICIPAL LIABILITY

    50.   The above paragraphs are here incorporated by reference.

    51.   The City is liable for the damages suffered by Plaintiff because, after learning of its

 employees’ violations of New Yorkers’ constitutional rights, the City has: failed to remedy the

 wrong; created policies or customs under which unconstitutional practices regularly occur and

 even thrive; and has been grossly negligent in managing subordinates who cause the unlawful

 events. The result of the City’s inaction is a culture within the NYPD where the same officers,

 the same units, and the same precincts repeatedly and routinely engage in acts of misconduct.

 By failing to properly train, supervise, and discipline its employees, agents, and servants, the

 City effectively encourages illegal, immoral, and unprofessional behavior.

    52.   The City has been aware for some time – from civil rights lawsuits, Notices of Claim,

 complaints filed with the Civilian Complaint Review Board (“CCRB”), City Council hearings,

 newspaper reports, criminal cases resulting in declined prosecutions and dismissals, and judicial

 rulings suppressing evidence and finding officers incredible as a matter of law – that a disturbing

 number of NYPD officers unlawfully search and seize New Yorkers without probable cause,

 arrest individuals in retaliation for filming the conduct of police officers, bring charges against

 New Yorkers with no legal basis, perjure themselves in charging instruments and through

 testimony, and fail to intervene in and report the obviously illegal actions of their fellow officers.

    53.   Despite having acquired such knowledge, the City has refused to appropriately sanction

 its employees’ illegal behavior.

    54.   The City’s deliberate indifference to civil rights violations committed by individual

 police officers, as well as patterns of misconduct committed by the same officers or occurring in




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 the same precinct has caused the constitutional violations against Plaintiff in this case.

 THE CITY FAILS TO TRACK CIVIL RIGHTS LAWSUITS, THEREBY SEVERING
 ANY POTENTIAL DETERRENT VALUE

           55.   For decades, the City has been on notice that certain officers and precincts are

 disproportionately responsibility for civil rights lawsuit liability. Nonetheless, the City has failed

 to take action to hold officers or precincts accountable.

           56.   In 1999, Comptroller Alan Hevesi, in a memo to Police Commissioner Howard Safir,

 stated that there was “a total disconnect” between the settlements of civil claims – even

 substantial ones – and NYPD discipline of officers. 1 Hevesi continued:


                      As a result, the NYPD does not learn of potential problem officers,
                      fails to take curative action, and not infrequently fosters a situation
                      in which an officer will engage in another act of violation,
                      resulting in harm to another person and further damages from the
                      City. More important, study of a large number of cases might well
                      reveal patterns of misconduct against which the NYPD could and
                      should take systematic management action. 2

           57.   The Comptroller recommended that the police department “analyze . . . settled claims,

 and take steps to review the officers’ performance and propensity to commit acts of excessive

 force.” 3

           58.   The City has not heeded Hevesi’s advice, and the “total disconnect” remains fully in

 place today. The number of claims against the NYPD has doubled in recent years, costing

 taxpayers more than $1 billion.4


 1
     Id.
 2
     Id.
 3
     Id.
 4
  See Barry Paddock, Rocco Parascandola, John Marzulli, & Dareh Gregorian, Exclusive: Detective is NYPD's most-
 sued cop, with 28 lawsuits filed against him since 2006, N.Y. DAILY NEWS, Feb. 16, 2014,
 http://www.nydailynews.com/new-york/lawsuits-nypd-double-decade-costing-taxpayers-1b-article-


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      59.    Yet the City continues to resist attempts to catalog even the most basic information

  gleaned from civil rights lawsuits that could improve training, leadership, supervision, and

  discipline in the NYPD. Although certain police officers, units, and precincts have been found to

  have violated New Yorkers’ constitutional rights repeatedly, the City refuses to track the data, or

  even to use the data it already has. 5

      60.    Courts – including this nation’s highest court – assume that civil rights lawsuits deter

  police misconduct. See Wyatt v. Cole, 504 U.S. 158, 161 (1992) (“The purpose of § 1983 is to

  deter state actors from using the badge of their authority to deprive individuals of their federally

  guaranteed rights and to provide relief to victims if such deterrence fails.”) (citing Carey v.

  Piphus, 435 U.S. 247, 254-257 (1978)); Hudson v. Michigan, 547 U.S. 586, 598 (2006) (“As far

  as we know, civil liability is an effective deterrent [to civil rights violations], as we have

  assumed it is in other contexts.”) (citing Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 70 (2001)

  and Nix v. Williams, 467 U.S. 431, 446, (1984)).

      61.    However, because the City of New York refuses to track civil rights lawsuits, such suits


  1.1615919#ixzz2ttdX4ZkE (reporting that the number of claims against the NYPD doubled between 2004-2014, to a
  record high of 9,570 lawsuits filed in 2012, costing taxpayers nearly $1 billion); Colleen Long & Jennifer Peltz,
  Associated Press, Nearly $1B in NYC police payouts, Yahoo! News (October 14, 2010, 7:44 PM),
  http://news.yahoo.com/ap-investigation-nearly-1b-nyc-police-payouts.html (reporting that, in the decade ending in
  2010, the City paid out nearly one billion dollars to resolve claims against the NYPD); Caroline Bankoff, The City
  Has Paid Almost Half a Billion Dollars in NYPD-Related Settlements Over the Past 5 Years, NYMag.com, Oct. 12,
  2014, http://nymag.com/daily/intelligencer/2014/10/428-million-in-nypd-related-settlements-paid.html (reporting
  that, between 2009-2014, New York City paid out more nearly $500 million to settle NYPD-related cases); see also
  City of New York, Office of the Comptroller Claims Report FY 2012, 30, June 4, 2013,
  https://www.documentcloud.org/documents/1375759-fy-2012-claims-report.html (noting that, in fiscal year 2012,
  so-called “police action claims,” which are claims that result from false arrest or imprisonment, police shootings,
  excessive use of force, assault, or failure to protect, cost the City $64.4 million, and that in fiscal year 2011, the City
  paid out $60.2 million in police action claims).
  5
    See, e.g., Barry Paddock, et al., Exclusive: Detective is NYPD's most-sued cop, with 28 lawsuits filed against him
  since 2006, N.Y. DAILY NEWS, Feb. 16, 2014, http://www.nydailynews.com/new-york/lawsuits-nypd-double-
  decade-costing-taxpayers-1b-article-1.1615919#ixzz2ttdX4ZkE (“The [Daily] News’ investigation was centered
  around the results of a Freedom of Information Law request for a list of lawsuits filed against officers who have
  been sued 10 or more times over the past decade. The city Law Department provided the names of 51 officers and
  463 cases. A News search found an additional 146 cases against the officers, and four other officers who should
  have been included in the response — calling into question the city’s ability to track these cases.”).


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  do not serve the deterrent purpose envisioned by the Supreme Court.

      62.   Civil rights lawsuits against NYPD officers have no impact on the officers’ careers,

  regardless of the expense to the City to defend a police misconduct case, and even when the

  same officers are named in multiple lawsuits, because settlements of civil claims are ordinarily

  not even noted in an officer’s personnel file. 6

      63.   By failing to keep track of crucial data – which could save lives as well as taxpayer

  money – the City has created a system in which lawsuits are severed from any potential deterrent

  effect.

  THE CITY FAILS TO DISCIPLINE OFFICERS WHO COMMIT PERJURY AND
  FALSIFY OFFICIAL RECORDS

      64.   The City is liable to Plaintiff for its failure to keep track of judicial decisions in

  suppression hearings where police officers have been found to have fabricated testimony.

      65.   There are hundreds of published decisions from the past several years in which judges

  in New York City courtrooms determine that, as a matter of law, police officers have testified

  incredibly, conducted illegal searches and seizures, and even suborned perjury.

      66.   Judicial decisions from suppression hearings and trials are particularly reliable

  indicators of a police officer’s professional conduct and credibility because the testimony has

  been tested in open court, under oath.

      67.   Yet those in a position of authority – such as NYPD supervisors and prosecutors – have

  no procedure to notify individual officers or their supervisors of adverse judicial findings.

      68.   Without any notification, improper search and seizure practices and incredible

  testimony go uncorrected, problematic supervision or leadership at the precinct level goes


  6
    Association of the Bar of the City of New York, Committee on New York City Affairs, “The Failure of Civil
  Damages Claims to Modify Police Practices, and Recommendations for Change,” March 2000, available at
  http://www2.nycbar.org/Publications/reports/print_report.php?rid=32.


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  ignored, and repeated misconduct by individual officers goes unaccounted for.

      69.    This has created a climate where police officers and detectives lie to prosecutors and in

  police paperwork and charging instruments, and testify falsely, with no fear of reprisal. As the

  Honorable Jack Weinstein, United States District Court Judge of the Eastern District of New

  York, has written:

                   Informal inquiry by the court and among the judges of this court,
                   as well as knowledge of cases in other federal and state courts, has
                   revealed anecdotal evidence of repeated, widespread falsification
                   by arresting police officers of the New York City Police
                   Department. Despite numerous inquiries by commissions and
                   strong reported efforts by the present administration—through
                   selection of candidates for the police force stressing academic and
                   other qualifications, serious training to avoid constitutional
                   violations, and strong disciplinary action within the department—
                   there is some evidence of an attitude among officers that is
                   sufficiently widespread to constitute a custom or policy by the city
                   approving illegal conduct of the kind now charged.

  Colon v. City of New York, No. 09-CV-8, 2009 WL 4263362, at *2 (E.D.N.Y. Nov. 25, 2009).

  THE CITY FAILS TO HOLD POLICE OFFICERS PERSONALLY FINANCIALLY
  LIABLE, RESULTING IN A COMPLETE LACK OF ACCOUNTABILITY

      70.    The City of New York is also liable in this case because, by habitually indemnifying

  police officers who have acted unconstitutionally, the City isolates such officers from

  accountability. 7 The effect – yet again – is that civil rights lawsuits do not serve a deterrent

  purpose.    “It is almost axiomatic that the threat of damages has a deterrent effect, surely

  particularly so when the individual official faces personal financial liability.” Carlson v. Green,

  446 U.S. 14, 21, (1980) [emphasis added] (citing Imbler v. Pachtman, 424 U.S. 409, 442 (1976))

  [footnote omitted].

  7
    See Eric Jaffe, When Cops Violate Civil Rights, It’s City Taxpayers Who Pay, CITYLAB, Dec. 4, 2014,
  http://www.citylab.com/crime/2014/12/when-cops-violate-civil-rights-its-city-taxpayers-who-pay/383419/
  (reporting that taxpayers almost always satisfy both compensatory and punitive damages awards entered against
  police officers).



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  THE CITY HAS FAILED TO CREATE A MEANINGFUL POLICE OVERSIGHT
  AGENCY, THUS ALLOWING OFFICERS’ UNLAWFUL BEHAVIOR TO GO
  UNCHECKED

      71.   The City is liable because it has created a legal system in which officer misconduct

  routinely goes unpunished.

      72.   The City has purported to attempt to address police officers’ abuse of authority, in part

  through the creation of the CCRB, a police oversight agency with investigative powers.

      73.   However, the CCRB has proved vastly inadequate.

      74.   First, the CCRB fails in its mission because it often has found that complainants “lack

  credibility” based on the fact that the complainant has also brought a civil rights lawsuit. The

  result is that the CCRB often fails to substantiate some of the most serious allegations.

      75.   Second, when the CCRB has determined that officers have made false statements to the

  CCRB in their own defense, the CCRB virtually never initiates its own findings against those

  dishonest officers. The same is true in situations where the CCRB finds that officers have failed

  to report their fellow officers’ misconduct.

      76.   Third, because the CCRB’s penalty recommendations are purely advisory and there is

  no enforcement mechanism, the recommendations have no binding effect on the NYPD or its

  officers. Even when the CCRB substantiates complaints, the police department rarely imparts its

  own discipline on the officer, and often simply drops the complaints. 8

      77.   Fourth, the NYPD Department Advocate, which is endowed with the responsibility of

  following up on substantiated CCRB charges, is understaffed and under-utilized. Furthermore,

  8
    See Nathan Tempey, CCRB: Cop Who Shoved Kid Through Hookah Bar Window Used Excessive Force,
  gothamist, July 28, 2015, http://gothamist.com/2015/07/28/bronx_hookah_window_ccrb.php (reporting that in 2014,
  the CCRB substantiated only 327 of nearly 5,000 complaints, and that the NYPD disciplined 10 2 officers in that
  same period. Of the officers disciplined, only 22 faced administrative charges); WNYC.org, Police Punishment:
  CCRB vs NYPD, http://project.wnyc.org/ccrb/ (last visited July 23, 2015) (reporting that, in 2012, police officers
  received no discipline in 104 cases (40.3%) of the substantiated complaints processed (258); in 2013, the NYPD
  dropped 28.3% of the substantiated complaints without any disciplinary action; in 2014, it dropped 24.5%).



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  in the rare event that the CCRB substantiates a complaint and the Department Advocate proves

  the case in an internal trial against an officer, the police commissioner still maintains the power

  to reduce the discipline against such an officer, a power the commissioner has wielded.

     78.   The complaint procedure provides seemingly countless opportunities for City agencies

  to dismiss or disregard legitimate, credible complaints.

     79.   Due to the failures of the CCRB, many abuses of authority by police officers go

  unreported. Officers are thus free to abuse their authority with little or no fear of repercussions.

     80.   Here, the lack of accountability contributed to the defendant police officers’ actions

  described above in that the officer defendants knew they were insulated from any repercussions

  for their unlawful actions against Plaintiff.

  THE CITY HAS ENCOURAGED UNCONSTITUTIONAL STOPS THROUGH ITS USE
  OF ARREST QUOTAS

     81.   The City has also been alerted to the regular use of “Stop, Question, and Frisk” by its

  police officers, which disproportionately target people of color, despite the humiliation,

  inconvenience, and constitutional violations that the majority of law-abiding people, mostly in

  communities of color, suffer as a result.

     82.   Even as the use of “Stop, Question, and Frisk” has declined precipitously in recent

  years – in large part due to the federal class action lawsuit Floyd, et al. v. City of New York, et

  al., 08-CV-1034 (SAS) – the police have continued to use the policing tactic in a severely

  racially disproportionate manner, and for the improper purpose of meeting “performance goals”

  (more commonly known as arrest quotas).

     83.   According to data collected by the New York Civil Liberties Union (“NYCLU”), in

  2014, New Yorkers were stopped by the police 46,235 times. Of the people stopped: 38,051

  were totally innocent of any crime (82%); 24,777 were Black (55%); 12,662 were Latino (29%);



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  and 5,536 were white (12%). 9

       84.   The City is also aware that the misconduct does not stop at the regular use of stop and

  frisks to violate the civil rights of innocent people. For example, the NYCLU reported that more

  than 85% of summonses for Open Container were given to Black and Latino New Yorkers,

  whereas white recipients made up merely 4%. 10               The grossly disproportionate issuance of

  summonses to New Yorkers of color led one Kings County judge to note that he could not recall

  ever having arraigned a white defendant on an open container charge. 11

       85.   Police officers have repeatedly told New York City news investigations that their

  supervisors pressure them into reaching “performance goals,” resulting in the violation of

  innocent New Yorker’s civil rights. 12

       86.   The City’s inability to prevent its officers from abusing the stop and frisk policy is

  emblematic of the City’s continuing failures to exercise adequate control over the NYPD, and to

  prevent police officers from abusing their authority. Such failures have led to further abuse of

  authority by police officers, including the incident underlying Plaintiff’s Complaint.

       87.   Upon information and belief, the City failed to impose any sanctions or punishment on

  Defendants as a result of these prior lawsuits, resulting in a total lack of accountability and

  instilling a belief in Defendants that there are no consequences for violating the civil rights of the

  people they are supposed to protect. That belief contributed to Defendant’s conduct towards

  9
    See NYCLU, Stop and Frisk Campaign: About the Issue, http://www.nyclu.org/content/stop-and-frisk-data (last
  visited July 22, 2015).
  10
     See NYCLU, Testimony Before City Council Public Safety & Courts and Legal Services Committees On
  Summons Court Operations and Impact, http://www.nyclu.org/content/testimony-city-council-public-safety-courts-
  and-legal-services-committees-summons-court-oper.
  11
     People v. Figueroa, 36 Misc.3d 605, 608 (Kings Co. 2012).

  12
     See Jim Hoffer, NYPD Officer Claims Pressure to Make Arrests, WABC News ( (Mar. 2, 2010, 10:37 PM),
  http://7online.com/archive/7305356/ and Jim Hoffer, Kelly Responds to Our NYPD Quotas, WABC News (May 25,
  2010, 3:31 PM), http://7online.com/archive/7461355/.




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  Plaintiff in the instant case.

      88.    The City is aware that all of the aforementioned has resulted in violations of citizens’

  constitutional rights. Despite such notice, the City has failed to take corrective action. This

  failure and these policies caused the officers in the present case to violate Plaintiff’s civil rights,

  without fear of reprisal.

      89.    Plaintiff has been damaged as a result of the City’s deliberate indifference.


            WHEREFORE, Plaintiff demands judgment against the defendants, jointly and severally,

  as follows:

            A.     In favor of Plaintiff in an amount to be determined by a jury for each of Plaintiff’s

  causes of action;

            B.     Awarding Plaintiff punitive damages in an amount to be determined by a jury;

            C.     Awarding Plaintiff reasonable attorneys' fees, costs and disbursements of this

  action; and

            D.     Granting such other and further relief as this Court deems just and proper.

                                             JURY DEMAND

            Plaintiff demands a trial by jury.

  DATED:           October 5, 2015
                   Brooklyn, New York                     Respectfully submitted,

  TO:       City of New York                              STOLL, GLICKMAN & BELLINA, LLP
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            Officer Leszek Dadura, # 4784                 Brooklyn, NY 11217
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